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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

N.M.Z., D.M.Z., MS. Z.,                           §
                                                  §
               Petitioners-Plaintiffs,            §
                                                  §
v.                                                §        CIVIL ACTION NO. SA-25-cv-00716-FB
                                                  §
JOSE RODRIGUEZ, in his Official                   §
Capacity as Warden of the Dilley                  §
Immigrant Processing Center;                      §
SYLVESTER M. ORTEGA, in his                       §
Official Capacity as Acting Field Office          §
Director, San Antonio Field Office,               §
Enforcement and Removal Operations,               §
U.S. Immigration and Customs Enforcement;         §
TODD LYONS, in his Official Capacity              §
as Acting Director U.S. Immigration               §
and Customs Enforcement; KRISTI                   §
NOEM, in her Official Capacity as                 §
U.S. Secretary of Homeland Security;              §
PAMELA BONDI, in her Official                     §
Capacity as Attorney General of the               §
U.S.; SIRCE E. OWEN, in her Official              §
Capacity as Acting Director of the                §
Executive Office for Immigration Review;          §
U.S. DEPARTMENT OF HOMELAND                       §
SECURITY; U.S. IMMIGRATIONS                       §
AND CUSTOMS ENFORCEMENT;                          §
U.S. DEPARTMENT OF JUSTICE;                       §
and U.S. EXECUTIVE OFFICE FOR                     §
IMMIGRATION REVIEW,                               §
                                                  §
               Respondents-Defendants.            §

                                     ORDER OF REFERRAL

       In accordance with the authority vested in the United States Magistrate Judge pursuant to Local
Rule CV-72 and Appendix C, Local Rules for the Assignment of Duties to United States Magistrates,
and 28 U.S.C. § 636(b), the instant action is hereby REFERRED to United States Magistrate Judge
Richard B. Farrer for pretrial proceedings including any requests for injunctive relief.
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I. MATTERS REFERRED

       This reference confers the following duties upon the Magistrate Judge to whom this case is
assigned, the parties and their counsel:

        (1) The Magistrate Judge shall issue a Scheduling Order, if applicable, in accordance with the
well established practice of the undersigned. The Magistrate Judge has discretion to extend or
otherwise modify the scheduling order deadlines upon on a showing of good cause. However, once the
Magistrate Judge has ruled on any matter, objections to and/or appeals from the Magistrate Judge's
rulings shall not be considered good cause for the extension of any deadline.

        (2) The parties shall parties shall indicate to the District Clerk in writing whether they are
willing to consent to trial before the Magistrate Judge pursuant to 28 U.S.C. § 636(c)(2) when ordered
to do so by the Magistrate Judge.

       (3) The Magistrate Judge shall rule on all pretrial motions, pursuant to 28 U.S.C. §
636(b)(1)(A). Where the Magistrate Judge's authority to make rulings is limited by statute, a
recommendation to this Court shall be made in lieu of an order, pursuant to 28 U.S.C. § 636(b)(1)(B)
and (C); unless all parties consent that the Magistrate Judge may rule on such otherwise exempt matters,
pursuant to 28 U.S.C. § 636(c)(1).

       (4) Unless the parties have consented to proceed to trial before the Magistrate Judge in
accordance with Paragraph (2), supra, the Magistrate Judge shall return the case to this Court upon the
submission of the proposed pretrial order and the ruling and/or filing of recommendations on all pretrial
motions pending at the time the pretrial order is submitted.

II. MATTERS NOT REFERRED

       This reference includes any pretrial matter not specifically mentioned above; however, this
reference does not include the following:

       (1) Settlement Agreements. Should the parties reach a settlement of this case, they should
contact the chambers of the undersigned in writing or telephonically. Upon being informed of a
settlement, this Court will enter such orders as it finds proper to resolve the case.

III. OBJECTIONS AND APPEALS

        Appeals from the Magistrate Judge's orders and objections to the Magistrate Judge's
recommendations shall be made in compliance with 28 U.S.C. § 636(b)(1), Rule 72 of the Federal Rules
of Civil Procedure, and Rule 4 of Appendix C to the Local Rules. Such objections and appeals shall
be limited to issues first raised before the Magistrate Judge; failure to bring any defect in any order or




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recommendation to the attention of the Magistrate Judge prior to raising the issue before this Court shall
be deemed a waiver of issue.

       It is so ORDERED.

       SIGNED this 26th day of June, 2025.


                                         _________________________________________________
                                         FRED BIERY
                                         UNITED STATES DISTRICT JUDGE




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